        Case 1:18-cr-00340-LGS Document 401
                                        398 Filed 10/20/20
                                                  10/16/20 Page 1 of 2




                    GENNARO CARIGLIO JR., P.L.
                  8101 BISCAYNE BOULEVARD • PENTHOUSE 701 • MIAMI, FL 33138
                                      TEL (305) 899-0438
                                      FAX (305) 373-3832


10/16/2020
                                 Application Granted. Defendant Sharma's sentencing submission
                                 shall be filed on or before November 16, 2020. The Government's
Via ECF and Email
                                 submission shall be filed on or before November 30, 2020. The
The Honorable Lorna G. Schofield
United States District Court     Clerk of the Court is directed to terminate the letter motion at docket
Southern District of New York    number 398.
40 Foley Square
New York, New York 10007         Dated: October 20, 2020
                                 New York, New York
Re: United States v. Sohrab Sharma, et al. (18 Cr. 340)
       Sohrab “Sam” Sharma

Dear Judge Schofield:

        The defendant, Sohrab “Sam” Sharma ("Sharma"), respectfully requests this Court
revisit its ruling and grant a twenty-eight day extension of time to file the sentencing
submission in this matter until November 16, 2020 with the government response due two
weeks later on November 30, 2020. The government consents to this request.

       The defense objections to the PSR were timely submitted to U.S. Probation on
October 9, 2020. The government is now in the process of responding to the defense
objections and the parties have had multiple, lengthy phone conferences working together
in an attempt to narrow the issues in dispute to avoid and/or limit the need for a Fatico
hearing. As a result, the PSR has not yet been finalized, which is necessary for the
defense to properly prepare the sentencing memorandum.

         Additionally, while the defense had been diligently working on the objections to
the PSR, it has also had multiple phone conferences with the government in a successful
effort to reach agreement on an interlocutory sale so the seized funds can be returned to
the victims as soon as possible. Finally, the defense has also spent a significant amount
of time in the past month conferencing with the government to reach a resolution on the
complex restitution issues in this case. The parties are on the verge of reaching an
agreement in principle which will obviate the need for a lengthy and complicated
restitution hearing.

       The defense is also still in the process of gathering records and preparing reports
to support the arguments in the sentencing submission. All of the above efforts and
reasons noted, in addition to the defense counsels’ regular caseload, require the defense
to respectfully request this additional time to properly prepare a sentencing memorandum
and request for a downward variance.



                                              1
        Case 1:18-cr-00340-LGS Document 401
                                        398 Filed 10/20/20
                                                  10/16/20 Page 2 of 2




                                          Respectfully submitted,

                                          /s/ Gennaro Cariglio Jr.
                                          Gennaro Cariglio Jr.
                                          Gennaro Cariglio Jr., P.L.
                                          8101 Biscayne Boulevard, PH 701
                                          Miami, Florida 33138
                                          (305) 899-0438
                                          Sobeachlaw@aol.com
                                          Attorney for Sohrab “Sam” Sharma


CC: All counsel of record




                                      2
